        Case 1:11-cv-00119-CWD Document 130 Filed 07/31/13 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO



 D.A. and J.A. on behalf of themselves and
 as legal guardians and parents of M.A., a           Case No. CV11-119-CWD
 minor individual with a disability,
                                                     JUDGMENT ON A JURY VERDICT
          Plaintiffs,

 vs.

 MERIDIAN JOINT SCHOOL
 DISTRICT NO. 2; and INDEPENDENT
 SCHOOL DISTRICT OF BOISE CITY,

          Defendants.


       The above-referenced matter having come before this Court for a jury trial commencing on

July 17, 2013, and ending on July 26, 2013, and the jury having rendered a special verdict (Dkt.

127) in favor of Defendants;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED, and this does so order,

adjudge and decree, that Judgment is hereby entered in favor of the Defendants Meridian Joint

School District No. 2 and Independent School District of Boise City on Plaintiffs’ Complaint and

Amended Complaint, and that the Plaintiffs recover nothing, and the action be dismissed on the

merits with prejudice.

                                                            July 31, 2013




JUDGMENT ON A JURY VERDICT - 1
